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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                              CASE NO. 5:08-cv-00027-R

ERIC TAYLOR                                                                         PLAINTIFF

v.

TECO BARGE LINE, INC., et al.                                                   DEFENDANTS

                         MEMORANDUM OPINION AND ORDER

       This matter comes before the Court on Defendants’ Motion for Summary Judgment

(Docket #73). Plaintiff has responded (Docket #77), and Defendants have replied (Docket #97).

This matter is now ripe for adjudication. For the reasons that follow, Defendants’ Motion is

DENIED.

       Also before the Court is Defendants’ Motion to Preclude Plaintiff’s Claim for Negligence

Per Se (Docket #95). Plaintiff responded (Docket #105), and Defendants replied (Docket #114).

This matter is now ripe for adjudication. For the reasons that follow, Defendants’ Motion is

GRANTED.

       Additionally, Plaintiff has filed a Motion for Leave to Amend (Docket #109), to which

Defendant has responded (Docket #115). This matter is now ripe for adjudication. For the

reasons that follow, Plaintiff’s Motion is DENIED.

                                        BACKGROUND

       This matter arises out of an alleged injury suffered by Plaintiff Eric Taylor while working

as a deckhand on board the M/V Diane Oak on or about December 2005. Many facts in this

matter are disputed. In his Complaint, Taylor alleges that he injured his back after “Defendants’

crew negligently rushed a job following Hurricane Katrina and the Captain ordered him to lift a

pump in excess of 150 pounds by himself.” (Compl. ¶ 9.) He now states that he had “already
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lifted three to four pumps and was in the process of lifting another massive three-inch pump

when he suddenly heard a ‘pop’ in his back.” (Pl.’s Resp. to Defs.’ Mot. Summ. J. 2.)

Defendants Teco Barge Line, Inc., et al. (“Teco”) have moved for summary judgment, arguing

that the facts do not support the necessary elements of negligence or a claim of unseaworthiness.

                                           STANDARD

       Summary judgment is appropriate where “the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact

and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). In

determining whether summary judgment is appropriate, a court must resolve all ambiguities and

draw all reasonable inferences against the moving party. See Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587 (1986).

       “[N]ot every issue of fact or conflicting inference presents a genuine issue of material

fact.” Street v. J. C. Bradford & Co., 886 F.2d 1472, 1477 (6th Cir. 1989). The test is whether

the party bearing the burden of proof has presented a jury question as to each element in the

case. Hartsel v. Keys, 87 F.3d 795, 799 (6th Cir. 1996). The plaintiff must present more than a

mere scintilla of evidence in support of his position; the plaintiff must present evidence on which

the trier of fact could reasonably find for the plaintiff. See id. (citing Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 252 (1986)). Mere speculation will not suffice to defeat a motion for

summary judgment: “the mere existence of a colorable factual dispute will not defeat a properly

supported motion for summary judgment. A genuine dispute between the parties on an issue of

material fact must exist to render summary judgment inappropriate.” Moinette v. Elec. Data Sys.

Corp., 90 F.3d 1173, 1177 (6th Cir. 1996).


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                                           DISCUSSION

       A.      Negligence

       “[I]n suits under the Jones Act, the court must determine whether the evidence justifies

the conclusion that the employer was negligent and that the employer’s negligence played any

part, however slight, in producing the injury to the seaman.” Perkins v. Am. Elec. Power Fuel

Supply, Inc., 246 F.3d 593, 598 (6th Cir. 2001) (explaining that there is a “reduced standard for

causation between the employer’s negligence and the employee’s injury” under the Jones Act).

“In order to establish negligence, ‘a plaintiff must show that her employer failed to provide a

safe workplace by neglecting to cure or eliminate obvious dangers of which the employer or its

agents knew or should have known and that such failure caused the plaintiff's injuries and

damages.’” Taylor v. TECO Barge Line, Inc., 517 F.3d 372, 383 (6th Cir. 2008) (quoting

Rannals v. Diamond Jo Casino, 265 F.3d 442, 449 (6th Cir. 2001)). When considering a motion

for summary judgment on a Jones Act claim, a court should be “mindful of the ‘policy of

providing an expansive remedy for seamen’ who are injured while acting in the course of their

employment and recognize that the ‘submission of Jones Act claims to a jury requires a very low

evidentiary threshold.’” Rannals, 265 F.3d at 447 (citation omitted).

       Here, Defendants argue that Taylor cannot establish the negligence elements of breach or

causation. “To recover, the plaintiff must first establish ‘the breach of a duty to protect against

foreseeable risks of harm.’” Perkins, 246 F.3d at 599 (citation omitted). Taylor argues that

Defendants were negligent because they failed to provide him with alternate methods for lifting

pumps. Taylor further argues that the M/V Diane Oak was understaffed, making it difficult for

him to obtain assistance.


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       Defendants contend that lifting the pump presented no foreseeable risk of harm. They

state that because the task is routinely and frequently completed, without incident and without

injury, it can only be characterized as reasonably safe. Defendants also note that they were never

notified of an allegedly unsafe condition. Additionally, Defendants dispute Taylor’s claim that

the M/V Diane Oak was understaffed.

       According to Taylor, when he was injured he was extremely fatigued from working

thirteen to sixteen hour shifts in extreme heat. He testified that instead of taking breaks every

15-25 minutes for every 45 minutes of work, he was instead taking a break every hour. Taylor

also states that the other deckhands were too busy to assist him, and that the captain was aware

of the lack of deckhands. Additionally, Plaintiff has submitted expert testimony that repeatedly

lifting heavy pumps would eventually cause injury.

       Resolving all ambiguities and drawing all reasonable inferences in favor of Taylor, and

recognizing that the submission of Jones Act claims to a jury requires a very low evidentiary

threshold, the Court finds that summary judgment in favor of Defendants would be

inappropriate. Taylor has submitted sufficient evidence such that, if proven, a reasonable jury

could find for him. Further, there are several key material facts which are disputed, including

when Taylor was injured, the circumstances surrounding his injury, how long he had been

working that week prior to his injury, what he was ordered to do, how much the pumps weighed,

whether other deckhands were available to assist him, and what the Defendants had knowledge

of.

       B.      Negligence Per Se

       Taylor argues that Defendants were negligent per se by requiring him to work more than


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eight hours in one day in violation of 46 U.S.C. § 8104(d) and 46 C.F.R. § 15.710. 46 U.S.C. §

8104(d) provides as follows:

               On a merchant vessel of more than 100 gross tons as measured under
               section 14502 of this title, or an alternate tonnage measured under
               section 14302 of this title as prescribed by the Secretary under
               section 14104 of this title (except a vessel only operating on rivers,
               harbors, lakes (except the Great Lakes), bays, sounds, bayous, and
               canals, a fishing, fish tender, or whaling vessel, a fish processing
               vessel of not more than 5,000 gross tons as measured under section
               14502 of this title, or an alternate tonnage measured under section
               14302 of this title as prescribed by the Secretary under section 14104
               of this title, yacht, or vessel engaged in salvage operations), the
               licensed individuals, sailors, coal passers, firemen, oilers, and water
               tenders shall be divided, when at sea, into at least 3 watches, and
               shall be kept on duty successively to perform ordinary work incident
               to the operation and management of the vessel. The requirement of
               this subsection applies to radio officers only when at least 3 radio
               officers are employed. A licensed individual or seaman in the deck
               or engine department may not be required to work more than 8 hours
               in one day.

46 C.F.R. § 15.710 provides:

               In addition to prescribing watch requirements, 46 U.S.C. 8104 sets
               limitations on the working hours of licensed individuals and crew
               members, prescribes certain rest periods, and prohibits unnecessary
               work on Sundays and certain holidays when the vessel is in a safe
               harbor. It is the responsibility of the master or person in charge to
               ensure that these limitations are met. . . .

Defendants responded to this argument in their reply brief, and also filed a separate Motion to

Preclude Plaintiff’s Claim for Negligence Per Se. Defendants argue that 46 U.S.C. § 8104(d)

does not apply to Taylor because the M/V Diane Oak is an inland river towing vessel.

       The plain language of the statute creates an exception for “a vessel only operating on

rivers.” 46 U.S.C. § 8104(d). This exception applies to the entire subsection, including the

portion that prohibits a licensed individual or seaman in the deck or engine department from


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working for more than eight hours in one day. The Court’s reading of the statute is also

supported by the United States Coast Guard Marine Safety Manual, which recognizes that

“[t]here is no statute addressing workhours for unlicensed seamen within the inland river towing

industry.” Additionally, Plaintiff’s expert, Don Green, acknowledged that the “work hour rules .

. . don’t specifically apply to deckhands.” (Green Dep. 44:20-23, Nov. 11, 2008.)

       Therefore, even if the term “seaman” in the statute included an unlicensed seaman, the

work hours restriction would not apply to Taylor because there is no dispute that the M/V Diane

Oak operates only on rivers. Consequently, Taylor is precluded from asserting a claim of

negligence per se and from offering the statute as evidence of any negligence on the part of the

Defendants. Allowing Taylor to introduce evidence of an inapplicable statute would be

confusing and prejudicial. Taylor may still introduce evidence of his fatigue and the long hours

he claims to have worked, but may not reference standards that do not apply to seaman working

on inland river towing vessels.

       C.      Seaworthiness

       “Under the seaworthiness doctrine, there is an absolute duty to maintain a seaworthy

ship, the breach of which imposes liability without fault, i.e., strict liability.” Perkins, 246 F.3d

at 602. “However, a vessel need not be ‘free from all possibility of mishap, for the

seaworthiness of a ship is a relative concept, dependent in each instance upon circumstances.’”

Id. “To prove an unseaworthiness claim, a plaintiff must show that the unseaworthy condition of

the vessel was the substantial and direct or proximate cause of the plaintiff’s injuries.” Id.

“Generally, unseaworthiness is a question of fact for the jury and should not be resolved by the

district court as a matter of law.” Churchwell v. Bluegrass Marine, Inc., 444 F.3d 898, 904 (6th


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Cir. 2006).

        Taylor argues that the M/V Diane Oak was unseaworthy because it was understaffed and

because he was instructed by the captain to improperly lift equipment. A vessel may be

unseaworthy if an insufficient number of workers were assigned to perform a shipboard task,

Usner v. Luckenbach Overseas Corp., 400 U.S. 494, 517-18 (1971), or if “its crew is instructed

to use unsafe work methods,” Churchwell, 444 F.3d at 904. Defendants argue that Taylor has

not submitted sufficient evidence to show that the vessel was understaffed or that anyone

directed Taylor to perform an unsafe procedure.

        The Court finds that there is a genuine dispute as to material facts that precludes

summary judgement on Taylor’s seaworthiness claim. Plaintiff has testified that he could not

obtain assistance to lift the pumps because his fellow deckhands were too busy, and that he was

instructed to lift the pumps by the captain. Resolving all ambiguities and drawing all reasonable

inferences in favor of Taylor, and recognizing that generally seaworthiness is a question of fact

for the jury, the Court finds that summary judgment in favor of Defendants would be

inappropriate.

                                          CONCLUSION

        For the foregoing reasons, IT IS HEREBY ORDERED that Defendants’ Motion for

Summary Judgment is DENIED, Defendants’ Motion to Preclude Plaintiff’s Claim for

Negligence Per Se is GRANTED and Plaintiff’s Motion for Leave to Amend is DENIED as

moot.




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                                                                        April 21, 2009
